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                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

 UNITED STATES OF AMERICA,
                Plaintiff,

 v.                                                   Criminal No. 2:10-cr-8-3


 FLOYD M. EDWARDS, III,
               Defendant.
                                        ORDER/OPINION

        On the 20th day of August, 2014, came the defendant, Floyd M. Edwards, III, in person and

 by his counsel, L. Richard Walker, and also came the United States by its Assistant United States

 Attorney, Stephen Warner, pursuant to an Amended Petition for Warrant or Summons for Offender

 Under Supervision filed in this case on August 5, 2014, alleging Defendant violated conditions of

 his supervised release as follows:

        1.      Violation of Special Condition: The defendant shall participate in a program
                of testing, counseling and treatment for drug abuse, as directed by the
                Probation Officer, until such time as the defendant is released from the
                program by the Probation Officer.

        2.      Violation of Standard Condition: The defendant shall work regularly at a
                lawful occupation, unless excused by the Probation Officer for schooling,
                training, or other acceptable reasons.

        3.      Violation of Standard Condition: The defendant shall report to the Probation
                Officer.

        4.      Violation of Mandatory Condition: The defendant shall not unlawfully
                possess a controlled substance. The defendant shall refrain from any
                unlawful use of a controlled substance.

        The Court heard the testimony of United States Probation Officer Vincent Zummo and

 Defendant. From that testimony, the Court finds probable cause to believe that on or about July 17,

 2014, Defendant submitted a urine specimen that tested positive for methamphetamine and

 subsequently signed a document admitting use of same. The Court notes that probable cause has

 already been found to believe that Defendant violated the first three conditions contained in the
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 Amended Petition Upon consideration of which, the Court finds there is probable cause to believe

 that Defendant violated conditions of his supervised release as alleged in the Amended Petition for

 Warrant or Summons for Offender Under Supervision filed August 5, 2014. It is therefore

 ORDERED that Defendant be bound over for a full hearing before the Honorable John Preston

 Bailey, Chief United States District Judge for the Northern District of West Virginia, on the

 violations alleged in the Amended Petition for Warrant or Summons for Offender Under Supervision

 dated August 5, 2014.

        Defendant requested release pending further proceedings in this matter. Based upon the

 totality of the circumstances, the undersigned finds that releasing Defendant to his family’s residence

 in Buckhannon, West Virginia would be a recipe for continuing disaster. Defendant’s testimony has

 established that he and his wife have a volatile relationship. The Court also notes, based upon

 Defendant’s testimony, that Defendant ingested alcohol laced with methamphetamine and then drove

 a borrowed vehicle to drive back home. Defendant readily admitted that he did not have a driver’s

 license.   The Court finds by clear and convincing evidence that such actions are inherently

 dangerous to the public. Accordingly, Defendant is REMANDED to the custody of the United

 States Marshal pending further proceedings in this matter.

        The Court notes Defendant’s objection to the ruling regarding detention and advises the

 Defendant that he may file objections and appeal this Order of detention to the District Judge within

 14 days of this date.

        IT IS SO ORDERED.

        The Clerk of the Court is directed to send a copy of this Order to counsel of record.

        DATED: August 21, 2014

                                                        John S. Kaull
                                                        JOHN S. KAULL
                                                        UNITED STATES MAGISTRATE JUDGE



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